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Pain Medicine 2018; 19: 928-941
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PRIMARY CARE & HEALTH SERVICES
SECTION
Review Article
Opioid Therapy for Chronic Pain: Overview of
the 2017 US Department of Veterans Affairs
and US Department of Defense Clinical                                                                                     02




Practice Guideline                         DEPO ITION
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Jack M. Rosenberg, MD,* Brandon M. Bilka, MD,t                          them with the US Centers for Disease Control and
Sara M. Wilson, MD,t and Christopher Spevak, MD,                        Prevention (CDC) guideline for prescribing opioids.
MPH, JDt
                                                                        Patient Population. This Opioid Therapy CPG was
*Department of Veterans Affairs, Physical Medicine and                  developed for VA-DoD service members, veterans,
Rehabilitation, Ann Arbor, Michigan; tWalter Reed                       and their families.
National Military Medical Center, Bethesda, Maryland,
                                                                        Methods. The VA/DoD Evidence -Based Practice
USA
                                                                        Work Group convened a VA/DoD guideline renewal
 Correspondence to: Jack M. Rosenberg, MD,                              development effort and conformed to the guidelines
 Department of Veterans Affairs, Physical Medicine                      established by the VA/DoD Joint Executive Council
 and Rehabilitation, VA Ann Arbor Health System,                        (JEC) and VA/DoD Health Executive Council (HEC).
 Station 112A, 2215 Fuller RD, Ann Arbor, MI 48105,                     The panel developed questions, searched and eval-
 USA. Tel: 734-845-5919; Fax: 734-845-5847; E-mail:                     uated the literature, developed recommendations
jackrose@umich.edu.
                                                                        using GRADE methodology, and developed algo-
                                                                        rithms. Passage of the CARA Act by Congress com-
Disclosure: Drs Rosenberg, Wilson, Bilka, and Spevak:                   pelled consideration and comparison with the CDC
The views expressed in this article are those of the                    opioid therapy guideline mid -development.
authors and do not reflect the official policy of the
Department of Army/Navy/Air Force, Department of
                                                                        Results. There were 18 recommendations made.
                                                                        This article focuses on guideline development and
Defense, or US Government.
                                                                        key recommendations with CDC comparisons taken
Conflicts of interest: None of the authors has any                      from four major areas, including:
disclosures or conflicts of interest.
                                                                           initiation and continuation of opioids;
                                                                         type, dose, follow-up, and taper of opioids;
                                                                         risk mitigation;
                                                                         acute pain.
Abstract                                                                Conclusions. Guideline development and recom-
                                                                        mendations are presented. There was substantial
Description. The US Department of Veterans Affairs                      overlap with the CDC opioid guideline. Additionally,
(VA) and US Department of Defense (DoD) revised the                     there were items particularly relevant to the VA-
2010 clinical practice guideline (CPG) for the manage-                  DoD, including risk mitigation, suicide prevention,
ment of opioid therapy for chronic pain, considering                    and preventing opioid use disorder in young
the specific needs of the VA and DoD and new evi-                       patients. Our guideline highlights avoiding opioid
dence regarding prescribing opioid medication for                       therapy longer than 90days as a critical juncture.
non -end -of -life -related chronic pain. This paper sum-
marizes the major recommendations and compares                          Key Words. Guideline; Veterans; Opioids


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                                                                                 VA-DoD Guideline for Opioid Therapy

                                                                 The guideline panel developed nine KOs focusing on
                                                                 clinical topics considered to be the most clinically im-
 Introduction                                                    portant and relevant with respect to long-term opioid
                                                                 therapy (LOT) for chronic pain. These included investi-
 The treatment or diagnosis of pain is the reason for one        gating how LOT compares with alternative pain modali-
 out of five of health care office visits, accompanied by        ties with regard to effectiveness and safety, while also
 opioid prescribing in 20% of visits in 2010 compared            evaluating the effectiveness and safety of various opioid
 with 11% in 2000 [1]. The increase in opioid prescribing        formulations. The group also considered evidence to iden-
 is matched by a parallel increase in morbidity, mortality,      tify what factors increase the risk of developing misuse or
 opioid-related overdose death rates, and substance              opioid use disorder and investigated which medical or
 abuse treatment admissions [2]. This public health issue,       mental health conditions are absolute or relative contrain-
 which has been labeled an epidemic [3,4], is a critical is-     dications to prescribing LOT. The group considered evi-
 sue for the US Department of Veterans Affairs (VA) and          dence relating to the use of additional medications
 the US Department of Defense (DoD). In October 2015,            concurrently with OT. The group also investigated the ef-
 the VA/DoD began working on an evidence -based clini-           fectiveness of risk mitigation strategies and the safety and
 cal practice guideline for opioid therapy in treating           effectiveness of both treatment of opioid use disorder
 chronic pain to replace the previous clinical practice          (OUD) and different tapering strategies and schedules.
 guideline from 2010. The US Centers for Disease
 Control and Prevention (CDC) "Guideline for Prescribing         The work group conducted a systematic search of
 Opioids for Chronic Pain" was released in 2016 [3].             peer -reviewed literature through January 2016 in order
                                                                 to find evidence relevant to the KQs. Emphasis was
 Guideline Development Process                                   placed on randomized trials, systematic reviews, and
                                                                 meta -analyses of at least fair quality. The guideline panel
 Recommendations were developed utilizing the quality            rated   recommendations using the Grading of
 standards and process in the "Guideline for Guidelines"         Recommendations Assessment, Development, and
 published by the Evidence -Based Practice Working               Evaluation (GRADE) method [6-8].
 Group (EBPWG) [5]. At the start of the guideline devel-
 opment, all team members were required to submit                On July 22, 2016, the Comprehensive Addiction and
 conflict of interest (COI) disclosure statements for rela-      Recovery Act was signed into law, requiring among other
 tionships in the prior 24 months. Verbal affirmations of        things that the CDC opioid guideline be considered in
 no COI were used periodically during the development            drafting this document. As a result of this review process,
 process. Web -based surveillance, such as ProPublica,           two additional KOs were addressed, one concerning nal-
 was used to monitor for potential COls. No Work Group           oxone rescue as a risk mitigation strategy and the other
 members reported relationships and/or affiliations that         addressing the effect of prescribing acute opioid pain med-
 had the potential to introduce bias, and none were              ications on the development of problems related to LOT.
 found throughout the development of the guideline.
                                                                 As this guideline was a renewal, all prior recommenda-
 The EBPWG selected two guideline panel champions                tions from the 2010 guideline were considered for ac-
 (cochairs), one each from the VA and DoD. The cham-             ceptance, modification, or removal, as explained in the
 pions then selected a multidisciplinary panel of practicing     guideline for guidelines reference document [5]. A
 clinician stakeholders. The specialties and clinical areas of   refreshed evidence review was not performed for these
 interest included: Addiction Medicine, Anesthesiology,          2010 recommendations.
 Family Medicine, Geriatrics, Internal Medicine, Mental/
 Behavioral Health, Neurology, Nursing, Pain Management,         The draft guideline was posted on a wiki website for a
 Palliative Care, Pharmacy,       Physical Medicine and          period of 14 business days for peer review and com-
 Rehabilitation, Physical Therapy, and Social Work.              ment. The peer reviewers comprised individuals working
                                                                 within the VA and DoD health systems as well as
 The VA/DoD contracted with The Lewin Group, a third             experts from relevant outside organizations. Comments
 party with expertise in clinical practice guideline develop-    were considered and incorporated according to panel
 ment, to facilitate meetings and develop key questions          consensus. Final recommendations are focused on initi-
 (KOs) using the population, intervention, comparison,           ation and continuation of opioids, type, dose, duration,
 outcome, time, and setting (PICOTS) format. A system-           follow-up, and taper of opioids and risk mitigation.
 atic review of the literature was conducted by the EROI
 Institute addressing the key questions.                         The full guideline can be found at http://www.healthqual
                                                                 ity.va.gov/guidelines/Pain/cot/.
 A Patient Focus Group explored patient perspectives on
 a set of topics related to management of opioid therapy         Recommendations
 (OT) in the VA and DoD health care systems, including
 knowledge of OT and other pain treatment options, de-           The guideline focuses on opioid therapy implementation
 livery of care, and the impact of and challenges with OT        as well as robust risk reduction. The guideline panel de-
 and chronic pain.                                               veloped four one -page algorithms modeled on the 2010


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algorithms. Figure 1 is an example of one of the algo-         shown to be beneficial for chronic pain [10]. Other non-
rithms and provides recommendations on determination           opioid medications should also be considered. before
of appropriateness for opioid therapy, with the initial rec-   opioids given the significant morbidity and mortality as-
ommendation that nonpharmacologic and nonopioid                sociated with opioid analgesics at even relatively low
pharmacologic therapies be initiated over opioid therapy       doses. As this is a LOT guideline and not a pain guide-
for chronic pain. Table 1 summarizes all 18 recommen-          line, the potential harms of nonopioid therapy were not
dations. Of all the recommendations, this paper high-          quantified and compared with LOT.
lights a few of the more unique areas of clinical
importance.                                                    This recommendation was given a STRONG grade be-
                                                               cause of the moderate evidence showing definite harms
Initiation of Opioid Therapy                                   in the way of deaths, overdoses, and development of
                                                               OUD. Based on the evidence, it was considered that
Recommendation 1                                               opioid therapy should no longer be given when all non-
                                                               opioid approaches fail due to the substantial risk of
a. We recommend against initiation of long-term opioid         harms.
   therapy for chronic pain. (Strong against)
b. We recommend alternatives to opioid therapy such            The CDC guideline states, "Nonpharmacologic therapy
   as self -management strategies and other nonphar-           and nonopioid pharmacologic therapy are preferred for
   macological treatments. (Strong for)                        chronic pain. Clinicians should consider opioid therapy
c. When pharmacologic therapies are used, we recom-            only if expected benefits for both pain and function are
   mend nonopioids over opioids. (Strong for)                  anticipated to outweigh risks to the patients." Our
                                                               guideline takes a stronger stance against opioid therapy,
There is a rapidly growing understanding of the signifi-       largely driven by the risk for development of opioid use
cant harms of LOT even at low doses (see the Dose,             disorder. Both guidelines find little evidence of benefit
Follow-up, and Taper of Opioids section), including            for long-term opioid use.
overdose and opioid use disorder (OUD). At the same
time, there is a lack of high -quality evidence that LOT       Duration of Opioid Therapy
improves pain, function, and/or quality of life. When
considering the benefits of LOT, it is important to con-       Recommendation 2
sider whether LOT will result in clinically meaningful
improvements in function such as readiness to return to
work/duty and/or measurable improvement in other               If   prescribing opioid therapy for patients with chronic
areas of function. The literature review identified no         pain, we recommend a short duration. (Strong for)
high -quality studies evaluating the efficacy of LOT for
outcomes lasting longer than 16 weeks. Given the lack          Note: Consideration of opioid therapy beyond 90 days
of evidence showing sustained functional benefit of LOT        requires re-evaluation and discussion with patient of
and moderate evidence outlining harms, nonopioid               risks and benefits.
treatments are preferred for chronic pain.
                                                               The pillars for this recommendation are a paucity of re-
Psychological therapies (e.g., cognitive behavioral inter-     search showing benefit for LOT, the strength of the evi-
ventions such as cognitive behavioral therapy [CBT] and        dence demonstrating the potential for life -threatening
biofeedback), exercise, and multidisciplinary biopsycho-       harm, and the substantial heightened risk for developing
social rehabilitation have been found to be effective for      OUD in patients who receive OT beyond 90days.
pain reduction in multiple pain conditions [9-11]. These
interventions are safe and have not been shown to in-          Two studies of chronic noncancer pain (CNCP) patients
crease morbidity or mortality. While exercise and psy-         support the strong advisement being made in this rec-
chological therapies have not been compared directly           ommendation. Edlund et al. (2014) [13] examined the
with LOT, there is clear evidence that LOT has signifi-        claims data from a health insurance database between
cant evidence for harm, even at low doses, that esca-          2000 and 2005 to examine factors predictive of devel-
lates with increasing dose. There is insufficient evidence     oping OUD. They found that, even greater than opioid
to recommend psychological over physical therapies or          dose, duration of OT was the strongest predictor of de-
vice versa; the choice of CBT, exercise, and/or biopsy-        veloping OUD. The odds ratio (OR) of developing OUD
chosocial rehabilitation should be individualized based        ranged from 14.92 for low -dose chronic prescriptions to
on patient assessment and a shared decision -making            122.45 for high -dose chronic opioid administration. A
process [12].                                                  second study by Boscarino et al. (2011) [14] examined
                                                               medical records from a large health care system.
In addition, nonopioid pharmacologic agents should be          Through interviews with a random sample of patients on
tried and optimized before consideration of opioid             LOT, they examined factors associated with and the
medications. Unless contraindicated, nonsteroidal anti-        prevalence of OUD (using the Diagnostic and Statistical
inflammatory     drugs     (NSAIDs)      and     serotonin-    Manual of Mental Disorders [DSM] 4 and 5 criteria).
norepinephrine reuptake inhibitors (SNRIs) have been           These results showed that the prevalence of lifetime


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                                                                                                                             VA-DoD Guideline for Opioid Therapy

                            Patient with chronic pain                                                                Sidebar A: Components of Biopsychosocial Assessment
                                                                                                                         Pain assessment including history, physical exam,
                                                                                                                         comorbidities, previous treatment and medications,
                       Has the patient been on daily OT for                                                              duration of symptoms, onset and triggers,
                         pain for more than 3 months?
                                                                                                                         location/radiation, previous episodes, intensity and
                                    Na
                                                                                                                         impact, patient perception of symptoms
                                                                                                                         Patient functional goals
                       Obtain biopsychosocial assessment                                                                 Impact of pain on family, work, life
                                 (see Sidebar A)                                                                         Review of previous diagnostic studies
                                                                                                                         Additional consultations and referrals
     5
         Educate/re-educate on:                                                                                          Coexisting illness and treatments and effect on pain
            Nonopioid management                                                                                         Significant psychological, social, or behavioral factors
            Self -management to improve function and quality of life                                                     that may affect treatment
            Realistic expectations and limitations of medical treatment                                                  Family history of chronic pain


     6
                                         f
         Implement and optimize nonopioid treatments for chronic pain
                                                                                                                         Collateral of family involvement
                                                                                                                         Patient beliefs/knowledge of:
                                                                                                                              The cause of their pain
             (e.g., physical, psychological, and complementary and
                                                                                                                              Their treatment preferences
                              integrative treatments)
                                                                                                                             The perceived efficacy of various treatment options
                                                                                                                     For patients already on OT, include assessment of
                   Are these treatments effective in managing                                                        psychological factors (e.g., beliefs, expectations, fears)
                          pain and optimizing function?
                                                                                                                     related to continuing vs. tapering OT

                                   Yes
                                                            8
                                                                          Complete opioid risk assessment                              Sidebar B: Examples of Absolute
                                                     Yes
                                                                          Do patient risks outweigh benefits? Consider                 Contraindications to Initiating Opioid
                                                                          strength and number of risk factors and                      Therapy for Chronic Pain
                                                                          patient preference (see Sidebar B)                               True life -threatening allergy to opioids
                                                                                         No                                                Active SUD
                                                            9                                                                              Elevated suicide risk (see VA/DoD
                                                                         Is referral/consultation for evaluation and                       Suicide CPG)
                                                                      treatment indicated (e.g., mental health, SUD,                       Concomitant use of benzodiazepines
                                                                           more intensive interdisciplinary care)?

                                                                                         Yes
                                                                10
                                                                     Refer/consult with appropriate interdisciplinary
                                                                                       treatments



                                                     No
                                                                             Is the patient willing to engage in a
                                                                               comprehensive pain care plan?                           Sidebar C: Consideration Checklist for
                                                                                                                                       LOT for Chronic Pain
                                                                                        Yes 1                                               Risks do not outweigh potential
                                                12         Educate patient and family about treatment options, including                    modest benefits
                                                           education on:                                                                    Patient is experiencing severe chronic
                                                             Known risks and unknown long-term benefits of OT                               pain that interferes with function and
                                                                Risks of SUD and overdose                                                   has failed to adequately respond to
                                                                Need for risk mitigation strategies                                         indicated nonopioid and nondrug
                                                                Naloxone rescue                                                             therapeutic interventions
                                                                                                                                            Patient is willing to continue to
                                                            13                                                                              engage in comprehensive treatment
                                                     No
                                                                      Is adding OT to comprehensive pain therapy                            plan including nonopioid treatments
                                                                          indicated at this time? (see Sidebar C)                           and implementation of learned active
                                                                                                                                            strategies that meets his or her needs
                                                                                         Yes
                                                                                                                                           to be successful with plan of care
                                                           14
                                                                              Is patient prepared to accept                                 Clear and measurable treatment goals
                                                     No
                                                                       responsibilities of and is provider prepared                         are established
                                                                        to implement risk mitigation strategies?                            Patient is able to access adequate
                                                                                                                                           follow-up for OT (see
                                                                                         Yes   4,
                                                            15                                                                              Recommendations 7-9)
                                                                     Discuss and complete written informed consent                          PDMP and UDT are concordant with
                                                                                 with patient and family                                    expectations
                                                                                                                                            Review of recent medical records is
                                                                                                                                            concordant with diagnosis and risk
                                                            16
                                                                          Determine and document treatment plan                             assessment
                                                                                                                                            Patient is fully informed and consents
                                                                                                                                           to the therapy
                  17                                                 18
                          Exit algorithm manage with
                             nonopioid modalities



Figure 1 Determination of appropriateness for opioid therapy. Note: Nonpharrnacologic and nonopioid pharmacologic
therapies are preferred for chronic pain. OT = opioid therapy; PDMP = prescription drug monitoring program; SUD =
substance abuse disorder; UDT = urine drug test; VA/DoD Suicide CPG = US Department of Veterans Affairs/US
Department of Defense "Clinical Practice Guideline for the Assessment and Management of Patients at Risk for Suicide."




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OUD for patients on LOT was 34.9% (based on DSM-5            0.06) in comparison with subjects in the 18-29 years
criteria) and 35.5% (based on DSM-4 criteria).               age category.

The CDC guideline does not specifically address this         Younger patients are also at a higher risk of opioid mis-
issue.                                                       use (as suggested by a UDT indicating high -risk medi-
                                                             cation -related    behavior). Turner et al. (2014) [21]
Initiation or Continuation of Opioid Therapy in              showed patients in the 45-64 years age group were sig-
Patients Younger than Age 30 Years                           nificantly less likely to have an aberrant UDT (detection
                                                             of a nonprescribed opioid, nonprescribed benzodiaze-
Recommendation 6                                             pine, illicit drug, or tetrahydrocannabinol [THC]) in com-
                                                             parison with patients in the 20-44 years age group.
a. We recommend against long-term opioid therapy for         Patients in the 45-64 years and 65 years and older age
   patients younger than age 30 years secondary to           groups were significantly less likely than the 20-44 years
   higher risk of opioid use disorder and overdose.          age group to have nondetection of a prescribed opioid
   (Strong against)                                          as well (indicating possible diversion) [21]. Further sup-
b. For patients younger than age 30 years currently on       porting this recommendation is evidence in other areas
   long-term opioid therapy, we recommend close mon-         that shows that developing brains (age < 30 years) are
   itoring and consideration for tapering when risks ex-     at increased risk of addiction when exposed to addictive
   ceed benefits. (Strong for)                               substances early in life [22-25].

All patients who chronically take opioids for pain are at    The CDC guideline states, "Factors associated with in-
risk for OUD, especially those who are younger than          creased risk for misuse included history of substance
age 30 years. This is of particular concern in the DoD       use disorder, younger age, major depression, and use
and VA patient populations due to the increased fre-         of psychotropic medications" but does not particularly
quency of chronic pain secondary to injury relative to       identify a restrictive age in the consideration of opioid
the general population. Six studies were identified that     therapy.
examined age as a predictor of OUD, respiratory/central
nervous system depression, and/or overdose; four of          Concurrent Sedatives
the six studies were rated as moderate -quality evidence
[13,15-17]. Two were rated as low -quality evidence          Recommendation 5
[18,19]. Five studies demonstrated that age was in-
versely associated with the risk of OUD and overdose
[13,15-17,19]. One study showed that older subjects          We recommend against the concurrent use of benzo-
had a higher hazard ratio (HR) of overdose, but this         diazepines and opioids. (Strong against)
study was of low quality [18]. Therefore, the Work
Group's overall confidence in the quality of the evidence    Note: For patients currently on long-term opioid therapy
was judged as moderate.                                      and benzodiazepines, consider tapering one or both
                                                             when risks exceed benefits and obtaining specialty con-
Similar to other risk factors, age younger than 30 years     sultation as appropriate.
should be weighed heavily in the risk -benefit calculus
for initiating LOT. Age younger than 30 years is not an      Harms outweigh benefits for the concurrent use of ben-
absolute contraindication to LOT as there may be some        zodiazepines and LOT. There is moderate -quality evi-
situations where the benefits of LOT clearly outweigh        dence that concurrent use of benzodiazepines with
the risks of OUD and overdose. Hospitalized patients re-     prescription opioids increases the risk of overdose and
covering from battlefield injuries, for example, are known   overdose death [26,27]. In a retrospective cohort study,
to have less chronic pain, depression, and post -            the adjusted odds ratio (AOR) for drug overdose was
traumatic stress disorder (PTSD) when their pain is ag-      highest for individuals on LOT for chronic pain who also
gressively managed starting soon after injury [20]. In       received concurrent long-term benzodiazepine therapy
those cases, LOT may be appropriate only if risk mitiga-     [26]. Furthermore, there is a lack of evidence in favor of
tion strategies are employed and patients are titrated off   long-term therapy with benzodiazepines and opioids for
LOT as soon as it is appropriate.                            chronic pain [28].

The added risk younger patients using opioids face for       Once initiated in combat veterans, benzodiazepines can
OUD and overdose (in comparison with older patients)         be very difficult to discontinue due to withdrawal, which is
is significant. Edlund et al. (2014) [13] found that sub-    often compounded by ensuing exacerbations of PTSD
jects age 18 to 30 years carried 11 times the odds of        symptoms. Moreover, abrupt discontinuation of benzo-
OUD and overdose in comparison with those older than         diazepines should be avoided as it can lead to serious ad-
age 65. Furthermore, Bohnert et al. (2011) [15] found        verse effects including seizures and death. Tapering
that subjects older than age 70 years had a substantially    benzodiazepines should be performed with caution and
lower chance of developing OUD or overdose (HR =             within a team environment when possible [29].


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                                                                                   VA-DoD Guideline for Opioid Therapy

Inaddition to benzodiazepines, the addition of other             The confidence in the quality of the evidence was mod-
psychoactive medications to LOT must be made with                erate for UDT and frequent follow-up and was low for
caution. We suggest not prescribing "Z -drugs" (e.g., zol-       opioid treatment agreements/informed consent. The fre-
pidem, eszopiclone) to patients who are on LOT as                quency of follow-up and monitoring should be based on
moderate -quality evidence demonstrates that the com-            patient level of risk as determined by an individual risk
bination of zolpidem and opioids increases the AOR of            assessment.
overdose [26]. The evidence reviewed also identifies po-
tential adverse outcomes (e.g., risk of overdose) with           Implementing more extensive risk mitigation strategies
the combined use of antidepressants and opioids in               entails an investment of resources. Primary care pro-
patients who do not have depression [26]. This particu-          viders may require more time with patients to shared
lar study did not differentiate between classes of antide-       decision -making and treatment planning. More frequent
pressants, limiting the ability of the Work Group to             follow-up of patients on LOT can affect access to care
recommend for or against prescribing opioids and a               for all empaneled patients.
specific class of antidepressants. As such, there is no
specific recommendation with respect to using specific           The CDC guideline has risk mitigation split into several
classes of antidepressants and LOT.                              sections. It states, "When prescribing opioids for chronic
                                                                 pain, clinicians should use urine drug testing before start-
The CDC guideline states, "Clinicians should avoid pre-          ing opioid therapy and consider urine drug testing at least
scribing opioid pain medication and benzodiazepines              annually." It also states, "Clinicians should review the
concurrently whenever possible." This statements is              patient's history of controlled substance prescriptions us-
similar, however, to the CDC Guideline, which states,            ing state prescription drug monitoring program (PDMP)
"The clinical evidence review did not address risks of           data to determine whether the patient is receiving opioid
benzodiazepine co -prescription among patients pre-              dosages or dangerous combinations that put him or her
scribed opioids. However, the contextual evidence re-            at high risk for overdose. Clinicians should review PDMP
view      found   evidence    in   epidemiologic   series   of   data when starting opioid therapy for chronic pain and pe-
concurrent benzodiazepine use in large proportions of            riodically during opioid therapy for chronic pain, ranging
opioid-related overdose deaths." This guideline did re-          from every prescription to every 3 months." These are in
view the evidence in making our recommendation.                  agreement with our guideline. The CDC guideline also
                                                                 states, "Although the clinical evidence review did not find
Risk Mitigation                                                  studies evaluating the effectiveness of written agreements
                                                                 or treatment plans (KQ4), clinicians and patients who set
Recommendation 7                                                 a plan in advance will clarify expectations regarding how
                                                                 opioids will be prescribed and monitored, as well as situa-
We recommend implementing risk mitigation strategies             tions in which opioids will be discontinued or doses
 upon initiation of long-term opioid therapy, starting           tapered." Our guideline specifies informed consent as re-
 with an informed consent conversation covering the              quired with any medical procedure/medication with a
 risks and benefits of opioid therapy as well as alterna-        higher level of risk.
 tive therapies. The strategies and their frequency
 should be commensurate with risk factors and                    Our guideline recommends the coprescription of nalox-
 include:                                                        one rescue and accompanying education as a risk miti-
                                                                 gation strategy based on 22 observational studies but
     ongoing, random urine drug testing (including ap-           recognizes that clinical efficacy has not been estab-
      propriate confirmatory testing);                           lished for the use of methadone or exceptionally potent
     checking state prescription drug monitoring                 opioids. It also notes that multiple doses maybe re-
      programs;                                                  quired for some overdoses.
     monitoring for overdose potential and suicidality;
     providing overdose education;                               In regards to naloxone rescue, the CDC guideline did
     prescribing of naloxone rescue and accompanying             not research naloxone's efficacy but states, "Most
        education. (Strong for)                                  experts agreed that clinicians should consider offering
                                                                 naloxone when prescribing opioids to patients at in-
A paradigm shift occurred in the approach to ensuring            creased risk for overdose, including patients with a his-
and documenting patient and provider understanding               tory of overdose, patients with a history of substance
and expectations regarding the risks and benefits of             use   disorder,    patients taking   benzodiazepines with
LOT. While the prior paradigm allowed for opioid ther-           opioids, patients at risk for returning to a high dose to
apy agreements (also known as opioid contracts), the             which they are no longer tolerant, and patients taking
realized increased risk and ethical concerns have                higher dosages of opioids (>50 MME/d). Practices
replaced agreements with an informed consent process.            should provide education on overdose prevention and
Refusal of this process by the patient may lead to               naloxone use to patients receiving naloxone prescrip-
changes in whether to proceed with LOT.                          tions and to members of their households."


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Risk Mitigation-Suicidality                                 Recommendation 12

Recommendation 8
                                                            We recommend against opioid doses over 90 mg mor-
                                                            phine equivalent daily dose for treating chronic pain.
We recommend assessing suicide risk when consider-          (Strong against)
ing initiating or continuing long-term opioid therapy and
intervening when necessary. (Strong for)                    Note: For patients who are currently prescribed doses
                                                            over 90 mg morphine equivalent daily dose, evaluate for
                                                            tapering to reduced dose or to discontinuation.
Every suicide is a tragic outcome. According to the VA-
DoD 2013 "Assessment and Management for Patients
                                                            There is moderate -quality evidence from retrospective
at Risk for Suicide," 22% of all suicides occur in veter-
                                                            cohort and retrospective case -control studies indicating
ans [30]. They further state that rates of suicide in the
population of veterans using the VA health care system      that risk of prescription opioid overdose and overdose
are higher than those of the general population and es-     death exists even at low opioid dosage levels and that it
                                                            increases. with increasing doses. Significant risk (approx-
pecially higher in those with a mental health diagnosis.
The Va-DoD 2013 suicide guideline stresses removing         imately 1.5 times) exists at a daily dosage range of 20
                                                            to less than 50 mg morphine equivalent daily dose
lethal means from the suicidal patient's environment for
                                                            (MEDD) and further increases (approximately 2.6 times)
those in the moderate or severe risk categories. Opioid
prescriptions are one of those possible means. This         at a range of 50 to less than 100 mg MEDD compared
                                                            with the risk at less than 20 mg MEDD. Risk continues
suggestion is supported by a large retrospective obser-
                                                            to increase at higher dosage ranges (>100 mg MEDD)
vational study in veterans that found increased levels of
                                                            [15,18,26,34]. In a prospective cohort study (not in-
risk with increased dose. Compared with patients re-
                                                            cluded in the evidence review as it did not include infor-
ceiving 20 or fewer milligrams per day (mg/d), hazard
                                                            mation on acute vs chronic pain in the patient
ratios were 2.15 for 100+ mg/d [31]. This evidence was
                                                            population), Dasgupta et al. (2015) [35] compared resi-
not causal as the patients on higher doses could have
                                                            dents of North Carolina who had received an opioid
more poorly treated pain. The issue is complicated by
                                                            prescription in the last year to residents who had not.
pain being an independent suicide risk factor [32,33].
                                                            The study examined the outcome of population -based
Based on this information, the Work Group recom-            rates of opioid overdose mortality by opioid dose, with-
                                                            out use of a presupposed threshold. There was no safe
mended that suicide be assessed or reassessed at
                                                            dose of opioid. Among the more than nine million indi-
each step of opioid therapy. It was given a grade of
                                                            viduals followed for one year, 629 died from opioid over-
strong for, with moderate evidence supporting increased
                                                            dose. Of these 629 individuals, 151 had no record of
monitoring as being protective for suicide attempts.
                                                            having been dispensed an opioid. Of the 478 patients
The CDC guideline mentions suicide attempts or risks        who died from an opioid overdose who were prescribed
as a factor in using opioid therapy, but it does not spe-   opioids, 235 (49%) had been prescribed less than
cifically advocate monitoring.
                                                            80 mg MEDD. Overdose incidence rate ratios (IRRs)
                                                            doubled each time the MEDD ranges increased from
Dose, Follow-up, and Taper of Opioids                       60.0-79.9 mg to 80.0-99.9 mg (IRR = 2.9 to 6.2), then
                                                            to 120-139.9 mg (IRR = 14.1), 160-179.9 mg (IRR =
Recommendation 10                                           29.5), and 350-399.9 mg (IRR = 63.2).

                                                            The CDC guideline recommendations are very similar,
If prescribing opioids, we recommend prescribing the        with 50 and 90 MEDD dose limits.
lowest dose of opioids as indicated by patient -specific
risks and benefits. (Strong for)                            Opioid Tapering

Note: There is no absolutely safe dose of opioids.          Recommendation 14

Recommendation 11
                                                            We     recommend     tapering   to   reduced     dose   or
                                                            discontinuation of long-term opioid therapy when risks
As opioid dosage and risk increase, we recommend            of long-term opioid therapy outweigh benefits. (Strong
more frequent monitoring for adverse events, including      for)
opioid use disorder and overdose. (Strong for)
                                                            Note: Abrupt discontinuation should be avoided unless
Note: Risks for opioid use disorder start at any dose       required for immediate safety concerns.
and increase in a dose -dependent manner. Risks for
overdose and death significantly increase at a range of     LOT use should be regularly reassessed by clinicians,
20-50 mg morphine equivalent daily dose.                    with consideration of tapering or discontinuation when


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the risks exceed the benefits of therapy. Observational          Clinicians should consider using an interdisciplinary,
studies suggest that when opioids are tapered or dis-            team -based approach that may include primary care,
continued within the context of a multimodal pain reha-          mental health, pain specialty/rehabilitation, physical ther-
bilitation     care   plan,   patients   can   experience   an   apy, and/or SUD services during the opioid tapering
improvement in their pain, function, and mood [36,37].           process. Additional research is needed to identify the
Nonpharmacologic therapies and nonopioid. pharmaco-              opioid tapering processes that are associated with the
logic therapies are preferred and should be optimized.           best patient outcomes among a broad range of
Several factors should be taken into consideration when          domains including       general functioning,   psychosocial
determining the balance of risks and benefits of OT,             functioning, mood, pain -related disability, and adverse
recognizing that multiple risk factors increase cumulative       outcomes assessed in the short, medium, and long
risk [38,39]. These factors include concerns about OUD           term.
or substance use disorder (SUD), medical or mental
health conditions that increase risk, concomitant medi-          The CDC guideline has a similar section on tapering en-
cations that increase overdose risk, unmanageable side           titled "Considerations for tapering opioids" and a similar
effects, and lack of clinically meaningful improvement in        finding of nonsuperiority of one method over another.
function. Abrupt discontinuation of opioids may be justi-
fied in certain high -risk circumstances. When there is          Recommendation 17
evidence for diversion, the clinician may need to discon-
tinue OT and frequently assess for withdrawal symp-
toms.          tapering treatment plan should be
             The                                                 We recommend offering medication -assisted treatment
individualized and should address the pace of tapering,          for opioid use disorder to patients with chronic pain and
setting of care, and frequency of follow-up. Low fre-            opioid use disorder. (Strong for)
quency of follow-up in primary care and limited access           Note: See the VA/DoD "Clinical Practice Guideline for
to comprehensive interdisciplinary specialty pain, reha-         the Management of Substance Use Disorders."
bilitation, mental health, and addiction services may be
barriers to tapering LOT. Tapering may unmask underly-           OUD is associated with premature death from opioid
ing OUD. Therefore, frequent assessment for OUD is               overdose and other medical complications such as ac-
recommended.                                                     quired immunodeficiency syndrome (AIDS), hepatitis C,
                                                                 and sepsis. On average, OUD carries a 40% to 60%
The rate of taper takes into account several factors, in-        20 -year mortality rate [40]. Persons with OUD are at
cluding initial dose, formulations available, and risk fac-      high risk for premature death, not only from opioid over-
tors that increase harm. A gradual taper over months,            dose but also from other consequences. Thus, provid-
or even years, with 5% to 20% dose reduction every               ing firstline treatment is important to save lives as well
four weeks is indicated for higher opioid doses and/or           as to improve the quality of life.
longer duration of OT. In some patients, a faster taper,
such as a 5% to 20% reduction per week, may be                   Strong evidence supports the use of opioid agonist ther-
needed when risks are too high to consider a gradual             apy (e.g., methadone, buprenorphine/naloxone) as first -
taper. Specialty consultation should be obtained if the          line treatment for moderate to severe OUD. One
risks warrant a more rapid taper. Such risks include             multicenter RCT tested patient responses to tapering of
nonadherence to the treatment plan and escalating                buprenorphine/naloxone to discontinuation over four to
high -risk medication -related behaviors. These patients          12 weeks, plus two regimens of outpatient counseling
will need frequent follow-up and reevaluation of SUD,            [40]. The results of the study suggest that medication -
mental health, and/or co-occurring medical conditions            assisted treatment (MAT) with buprenorphine/naloxone
with every dose change. It should be recognized that el-         and brief structured counseling by the prescribing physi-
evated dose alone poses increased risk of overdose,              cian can be successful for about half of selected patients
overdose death, adverse effects, and the development             with prescription OUD, whereas withdrawal management
of OUD.                                                          alone, even with close weekly follow-up and counseling,
                                                                 is successful for less than 10% of patients. Furthermore,
A biopsychosocial assessment including evaluation of             the presence of chronic pain does not seem to interfere
medical, psychiatric, and co-occurring substance use             with the success of MAT, based on the conclusions of an
conditions, as well as the patient's social support sys-         RCT by Weiss et al. (2011) [41] and a meta -analysis by
tem, should be completed prior to the initiation of an           Dennis et al. (2015) [42].
opioid taper. The risks and benefits of the current opioid
regimen should be weighed with the risks and benefits            Given the high mortality associated with OUD and the
associated with a reduction in opioid dose. Follow-up            safety and efficacy of MAT for OUD in multiple clinical
should occur within a range of one week to one month             trials and meta -analyses, we recommend MAT for those
after any opioid dosage change and should include ed-            who meet DSM-5 criteria for OUD. Those who do not
ucation about self -management strategies and the risks          respond to minimal counseling may benefit from a com-
associated with OT.                                              prehensive assessment and more intensive treatment of


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OUD and any co-occurring conditions in SUD specialty         days will rarely be needed." These guidelines are in con-
care settings.                                               cordance in regards to acute use leading to LOT and
                                                             the risks thereof and to not using long -acting medica-
On this subject, the CDC guideline states, "Clinicians       tions for acute pain. There is a difference in acute use
should offer or arrange evidence -based treatment (usu-      risk mitigation, with the CDC favoring limitation of pre-
ally medication -assisted treatment with buprenorphine       scription to three days with a seven-day provision for
or methadone in combination with behavioral therapies)       outliers, compared with a three- to five-day reassess-
for patients with opioid use disorder." There is agree-      ment. This softer recommendation may have been due
ment between the two guidelines.                             to a lack of data on the efficacy of the acute use of
                                                             opioids, making it harder to balance risk and benefits.
Recommendation 18
                                                             Discussion
a. We recommend alternatives to opioids for mild to
   moderate acute pain. (Strong for)                         While there is a significant amount of concordance be-
b. We suggest use of multimodal pain care including          tween this guideline and the CDC guideline [3], they dif-
   nonopioid medications as indicated when opioids are       fer in a few critical aspects. The CDC guideline uses
   used for acute pain. (Weak for)                           expert determination and focuses on the overdose and
c. If take-home opioids are prescribed, we recommend         death prevention end points in making their recommen-
   that immediate -release opioids are used at the low-      dations while this guideline is evidence determined and
   est effective dose, with opioid therapy reassessment      additionally gives consideration to recent data relating to
   no later than three to five days later to determine if    the development of substance use disorder as a major
   adjustment or continuing opioid therapy is indicated.     end point. Further major differences perhaps more rele-
   (Strong for)                                              vant in the unique VA-DoD population are the specific
                                                             avoidance of LOT for patients younger than age
Note: Patient education about opioid risks and alterna-      30 years due to the risk of abuse or overdose, a stron-
tives to opioid therapy should be offered.                   ger avoidance of concurrent benzodiazepine use recom-
                                                             mendation, a focus on suicide prevention, a short-term
The VA-DoD guideline targets the contribution of opioids     reassessment strategy for acute pain, and a specific
given for acute pain therapy leading to prolonged use of     three-month time frame to prevent transition from less
opioids and the risks accompanying their use. They did       than three months to long-term therapy.
not evaluate the benefits compared with risks of acute
opioid therapy nor the efficacy of alternative treatments    This guideline also requires the use of informed consent
for mild to moderate pain, even though they are recom-       as part of the prescribing risk mitigation process,
mended. They cite Halbert et al. [43] and Deyo et al.        whereas the CDC passed on the use of either informed
[44], who looked at opioid prescribing in a medical pop-     consent or agreements. The comprehensive risk mitiga-
ulation. Deyo et al.'s study of 536,767 patients found       tion strategy also includes ongoing random urine drug
that 5% of those who received six or more refills be-        testing, providing overdose education, suicide preven-
came chronic users, with rural location, prescription of     tion, and prescribing naloxone rescue medications.
long -acting medications, and increased age being other      Interdisciplinary management should be instituted for all
risks. Halbert et al. focused on the contribution of mood    chronic pain patients to address the problem through
disorders and a more than twofold increase in numbers        multiple modalities, with the overall goal of reducing opi-
of patients transitioning to chronic use in those with       oid requirement and using nonpharmacologic and non-
mood disorders. The above medical studies and three          opioid pharmacologic methods as the preferred method
surgical studies [45-47], one using postoperative hip,       for treatment of chronic pain. This approach may require
postoperative knee, and general postoperative popula-        increased resources that could impact all enrolled
tions, were cited as identifying duration of use as risk     patients, but the level of risk suggests strong measures
factors leading from acute use to LOT. Overdose risks        as required.
as described by Bohnert et al. [15] and Zedler et al. [18]
were also cited as reasons to reassess acute opioid use      This guideline's creation was unique compared with
in three to five days.                                       other nonopioid guidelines. After the key questions were
                                                             developed and researched, the US Congress passed
The reasoning for using a reassessment in three to five      the CARA Act, requiring us to consider the CDC guide-
days was not detailed in the discussion section of this      line in writing our guideline. The CDC guideline develop-
recommendation.                                              ment was helpful in identifying areas of concern and
                                                             taking the backlash from patients, industry, and practi-
The CDC guideline states, "When opioids are used for         tioners invested in opioid therapy.
acute pain, clinicians should prescribe the lowest effec-
tive dose of immediate -release opioids and should pre-      Second, as this was a guideline renewal, we had only a
scribe no greater quantity than needed for the expected      limited number of questions that we could ask, despite
duration of pain severe enough to require opioids. Three     the large amount of new studies. Careful construction of
days or less will often be sufficient; more than seven       the    key  questions    mitigated   these    concerns.


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 Table 1     VA/DoD OT CPG recommendations

           Recommendation                                                             Strength*        Categoryt

 Initiation and Continuation of Opioids
 1.        a. We recommend against initiation of long-term opioid therapy for         a. Strong        Reviewed,
              chronic pain.                                                              against         new -replaced
           b. We recommend alternatives to opioid therapy such as self-               b. Strong for
              management strategies and other nonpharmacological treatments.          c. Strong for
           c. When pharmacologic therapies are used, we recommend nonop-
                ioids over opioids.
 2.        If prescribing opioid therapy for patients with chronic pain, we recom-    Strong for       Reviewed,
              mend a short duration.                                                                     new -added
           Note: Consideration of opioid therapy beyond 90 days requires
              re-evaluation and discussion with patient of risks and benefits.
 3.        For patients currently on long-term opioid therapy, we recommend           Strong for       Reviewed,
               ongoing risk mitigation strategies (see Recommendations 7-9),                             new -replaced
               assessment for opioid use disorder, and consideration for tapering
               when risks exceed benefits (see Recommendation 14).
 4.        a. We recommend against long-term opioid therapy for pain             in   a. Strong        Reviewed,
              patients with untreated substance use disorder.                            against         amended
           b. For patients currently on long-term opioid therapy with evidence of     b. Strong for
              untreated substance use disorder, we recommend close monitor-
              ing, including engagement in substance use disorder treatment,
              and discontinuation of opioid therapy for pain with appropriate
              tapering (see Recommendations 14 and 17).
 5.        a. We recommend against the concurrent use of benzodiazepines              Strong against   Reviewed,
              and opioids.                                                                               new -added
           Note: For patients currently on long-term opioid therapy and benzo-
            diazepines, consider tapering one or both when risks exceed
            benefits and obtaining specialty consultation as appropriate (see
            Recommendation 14 and VA/DoD substance use disorders CPG).
 6.        a. We recommend against long-term opioid therapy for patients              a. Strong        Reviewed,
               younger than age 30 years secondary to higher risk of opioid use          against         new -replaced
               disorder and overdose.                                                 b. Strong for
           b. For patients younger than age 30 years currently on long-term opi-
               oid therapy, we recommend close monitoring and consideration for
               tapering when risks exceed benefits (see Recommendations 14
               and 17).
 Risk Mitigation
 7.        We recommend implementing risk mitigation strategies upon initiation       Strong for       Reviewed,
             of long-term opioid therapy, starting with an informed consent con-                         new -replaced
             versation covering the risks and benefits of opioid therapy as well
             as alternative therapies. The strategies and their frequency should
             be commensurate with risk factors and include:
                ongoing, random urine drug testing (including appropriate
              confirmatory testing);
                checking state prescription drug monitoring programs;
                monitoring for overdose potential and suicidality;
                providing overdose education;
                prescribing of naloxone rescue and accompanying education.
 8.        We recommend assessing suicide risk when considering initiating or         Strong for       Reviewed,
              continuing long-term opioid therapy and intervening when                                   amended
             necessary.
                                                                                                               (continued)




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 Additionally, the CARA Act required us to add two sec-           changed as new studies are reported. We can look for-
 tions, naloxone rescue and acute pain prescriptions              ward to new studies examining LOT, the effects of miti-
 leading to LOT, which had been initially overlooked. So,         gation strategies, and the development of novel
 it is not surprising that this guideline is comparable with      medications and therapies. These examples of future
 the CDC guideline, with largely corresponding areas of           science will shape pain medicine and our guidelines.
 concern.
                                                                  Acknowledgments
 The guideline renewal rules complicated the process in
 that there are different evidentiary rules regarding prior       The authors wish to thank Work Group members: From
 recommendations as opposed to new recommenda-                    the DoD, Elizabeth Rees Atayde, RN, MSN, FNP, CCM,
 tions. However, there were no 2010 recommendations               CPHM; MAJ Robert Brutcher, PharmD, PhD; Corinne
 that made it into the 2017 guideline unchanged or unre-          Devlin, MSN, RN, FNP-BC; LTC William Grief, MD; James
 searched. Finally, the regulations regarding opioid ther-        Hardin, LCSW-C, MAC; Connie Kurihara, RN; CDR
 apy vary on a state -to -state basis, and while the VA and       Marisol Martinez, PharmD; Capt Erick C. Messier, PhD;
 DoD practice within a federal framework, the practi-             LTC Jason Silvernail, DPT, DSc, FAAOMPT; CAPT Necia
 tioners' licenses are granted on a state basis, guiding          Williams, MD. From the VA, Michael O. Chaffman,
 their practice. The use of outside practitioners through         PharmD, BCPS; Karen Drexler, MD; Franz Macedo, DO;
 contracts or fee for service complicates matters further.        Aram Mardian, MD; Anthony J. Mariano, PhD;          Ilene
                                                                  Robeck, MD; Friedhelm Sandbrink, MD; Maria Silveira,
 Some may consider the strength of recommendation for             MD, MA, MPH; Nancy Wiedemer, MSN, RN, ANP-BC.
 some of these recommendations to be too high. It bears           From the Lewin Group, Clifford Goodman, PhD; Christine
 repeating that the weight of the evidence for harms was          Jones, MS, MPH, PMP; Erika Beam, MS; Anjali Jain, MD.
 consistently much greater than the evidence of benefit.          From the EROI Institute, Kristen E. D'Anci, PhD; Nancy M.
 The paradigm shift is profound from the 2003 VA-DoD              Sullivan, BA; James Reston, PhD, MPH; Mrin Joshi, MS;
 opioid therapy guideline, in which opioid therapy was
                                                                  Erin Payne, MS; Raj Stewart, PhD; Stacey Uhl, MS; Allison
 advocated, to the 2010 opioid therapy guideline, in              Gross, MLS. From the Veterans Health Administration
 which we advocate for careful use when nothing else
                                                                  Office of Quality, Safety and Value, Eric Rodgers, PhD,
 works, to this current guideline, in which chronic opioid
                                                                  FNP, BC; Rene Sutton, BS, HCA; James Sall, PhD, FNP-
 therapy is to be avoided, even when other treatments
                                                                  BC. From Sigma Health Consulting, LLC, Frances
 don't work. Most of us have patients whom we have
                                                                  Murphy, MD, MPH.
 successfully managed for years with moderate doses of
 opioids. It is difficult to accept science that conflicts with
 our clinical experience and may prompt patients who
 have been accustomed to more liberal opioid prescrib-            References
 ing to object to risk mitigation or thoughtful tapering and       1 Daubresse M, Chang HY, Yu Y, et al. Ambulatory
 even leave the clinic. Panel members too felt this angst,           diagnosis and treatment of nonmalignant pain in the
 and every effort was made to minimize these potential               United  States,   2000-2010. Med Care 2013;51
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 cussion, so notes of caution were inserted into the rec-
 ommendations. We added patient education via a                    3 Dowell D, Haegerich TM, Chou R. CDC guideline for
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